                       Case 1:21-cr-00117-TFH Document 1 Filed 01/17/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   DistrictDistrict
                                              __________    of Columbia
                                                                    of __________

                  United States of America                      )
                             v.                                 )
                RYAN TAYLOR NICHOLS
                                                                )      Case No.
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                January 6, 2021              in the county of                               in the
                       District of         Columbia         , the defendant(s) violated:

            Code Section                                                  Offense Description
18 U.S.C. §§ 1752(a),1752(b)(1)(A)           Conspiracy and Unlawful Entry with Dangerous Weapon;
40 U.S.C. §§ 5104(e)(2), 5104(e)(2)          Violent Entry and Disorderly Conduct on Capitol Grounds;
(D) and (G)
18 U.S.C. § 231(a)(3)                        Civil Disorder;
18 U.S.C. §§ 111(a), 111(b)                  Assault on a Federal Officer Using a Deadly or Dangerous Weapon;
18 U.S.C. § 2(a)                             Aiding and Abetting



         This criminal complaint is based on these facts:
See attached statement of facts.




         u Continued on the attached sheet.


                                                                                           Complainant’s signature

                                                                              MICHAEL D. BROWN, Special Agent, FBI
                                                                                            Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                           2021.01.17 22:33:14
Date:             01/17/2021                                                                            -05'00'
                                                                                                 Judge’s signature

City and state:                      WASHINGTON, D.C.                              Zia M. Faruqui, U.S. Magistrate Judge
                                                                                            Printed name and title
